Case 2:11-cr-20551-RHC-MKM ECF No. 553, PageID.1898 Filed 06/19/13 Page 1 of 1




                                UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

          Plaintiff,

 v.                                                                       Case No. 11-20551-14

 WALEED YAGHMOUR,

          Defendant.
                                                              /

      ORDER DENYING DEFENDANT’S MOTION TO AMEND BOND CONDITIONS

          Defendant Waleed Yaghmour moves to amend his bond conditions. On June 18,

 2013, the court held a hearing on the motion. For the reasons stated on the record

 during the hearing,

          IT IS ORDERED that Defendant’s motion to amend bond conditions [Dkt. # 526]

 is DENIED.



                                                          s/Robert H. Cleland
                                                         ROBERT H. CLELAND
                                                         UNITED STATES DISTRICT JUDGE

 Dated: June 19, 2013

 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, June 19, 2013, by electronic and/or ordinary mail.

                                                          s/Lisa Wagner
                                                         Case Manager and Deputy Clerk
                                                         (313) 234-5522



 S:\Cleland\JUDGE'S DESK\C1 ORDERS\11-20551.YAGHMOUR.Deny.Amend.Bond.Conditions.wpd
